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                                        Here’s What We Know About Russia and the DNC Hack | WIRED
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    APRIL GLASER       SECURITY     07.27.16    9:30 AM




    HERE'S WHAT WE KNOW ABOUT RUSSIA AND THE DNC
    HACK




        GETTY IMAGES




    AS THE DEMOCRATIC                 National Convention continues its week-long stay in
    Philadelphia, accusations of Russian hacking continue to cloud the proceedings. At
    this point, it seems likely that Russia is responsible. What’s less clear is what that will
    mean going forward.

    It’s been a bad stretch for the Democratic National Committee. Hackers broke into its
    servers months ago, stealing private emails, opposition research, and campaign
    correspondence. Last Friday, Wikileaks made nearly 20,000 of those private emails
    public, revealing embarrassing details of the political machine’s inner workings. DNC
    official allege that the Russian government is behind the breach. The New York Times
    reports that US intelligence agencies increasingly share that opinion. According to a
    number of top cybersecurity researchers, they’re probably right.



    A Brief History of a Hack

https://www.wired.com/2016/07/heres-know-russia-dnc-hack/                                           1/7
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11/24/2016                                      Here’s What We Know About Russia and the DNC Hack | WIRED
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    News of the hack of the Democratic National Committee first broke in mid-June.
    That’s when Crowdstrike, a firm that analyzes threats to network security, revealed
    that the DNC had called it in to inspect the party’s servers, where it found “two
    separate Russian intelligence-affiliated adversaries present in the DNC network.”
    Crowdstrike released a comprehensive report of its findings on June 14, which
    accompanied a Washington Post article detailing the attacks. One of the hacking
    groups, Crowdstrike found, had access to the DNC servers for almost a year.

    A day after that report, someone calling themselves Guccifer 2.0 (an allusion to
    notorious hacker Guccifer) claimed responsibility for the hack in a blog post. Through
    the blog and an accompanying Twitter account, Guccifer 2.0 refuted Crowdstrike’s
    claims that this was a Russian operation, instead calling himself a “lone hacker.” He
    also claimed to have handed much of the DNC bounty to Wikileaks.

    The following week, two cybersecurity firms, Fidelis Cybersecurity and Mandiant,
    independently corroborated Crowdstrike’s assessment that Russian hackers
    infiltrated DNC networks, having found that the two groups that hacked into the DNC
    used malware and methods identical to those used in other attacks attributed to the
    same Russian hacking groups.

    But some of the most compelling evidence linking the DNC breach to Russia was
    found at the beginning of July by Thomas Rid, a professor at King’s College in
    London, who discovered an identical command-and-control address hardcoded into
    the DNC malware that was also found on malware used to hack the German
    Parliament in 2015. According to German security officials, the malware originated
    from Russian military intelligence. An identical SSL certificate was also found in both
    breaches.

    The evidence mounts from there. Traces of metadata in the document dump reveal
    various indications that they were translated into Cyrillic. Furthermore, while
    Guccifer 2.0 claimed to be from Romania, he was unable to chat with Motherboard
    journalists in coherent Romanian. Besides which, this sort of hacking wouldn’t
    exactly be outside of Russian norms.

    “It doesn’t strain credulity to look to the Russians,” says Morgan Marquis-Boire, a
    malware expert with CitizenLab. “This is not the first time that Russian hackers has
    been behind intrusions in US government, and it seems unlikely that it will be the
    last.” Last year Russian hackers were able to breach White House and State



https://www.wired.com/2016/07/heres-know-russia-dnc-hack/                                                    2/7
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11/24/2016                                      Here’s What We Know About Russia and the DNC Hack | WIRED
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    Department email servers, gleaning information even from President Obama’s
    Blackberry.

    Meanwhile, the Kremlin has denied Russian involvement in the DNC breach. But the
    reverberations continue; DNC Chairwoman Debbie Wasserman Schultz will resign at
    the end of the week, after emails revealed what many view as the unfair treatment of
    Bernie Sanders.



    From Russia With Love
    As compelling as the evidence is, there’s still a small amount of room to argue that
    Guccifer 2.0 was a lone actor, an individual motivated by hacktivist ideals of
    dismantling state power. He wouldn’t be the first. And in a recent interview on NBC,
    Julian Assange of Wikileaks gave a soft disavowal of claims that his whistleblowing
    organization is in cahoots with Russian intelligence, “Well, there is no proof of that
    whatsoever,” he said. “We have not disclosed our source, and of course, this is a
    diversion that’s being pushed by the Hillary Clinton campaign.”

    This is, of course, the same Assange who boasts responsibility for helping find
    Snowden a home in Russia and Wikileaks publicly criticized the Panama Papers for
    implicating Putin in financial misdeeds. He’s also an outspoken frequent critic of
    Hillary Clinton’s time at the State Department. A damning document dump the
    weekend before Clinton’s nomination arguably aligns with both Russian interests and
    his own.

    If the allegations do prove correct, this is an unprecedented step for Russia. Hacking
    is nothing new, but publicizing documents to attempt to sway an election certainly is.
    Putin would clearly prefer a Trump presidency. The billionaire Republican candidate
    is a longtime admirer of Putin’s, and has publicly stated that he wouldn’t necessarily
    defend NATO allies against a Russian invasion. To top it all off, Trump’s campaign
    manager, Paul Manafort, formerly worked as an advisor to Viktor Yanukovych, the
    Russian-backed President of Ukraine before he was ousted in 2014.

    “Due to the nature and timing of this hack, it all seems very political,” says Marquis-
    Boire.

    And there’s a whole lot of election left—and likely more leaks to come with it. On
    Sunday, a Twitter user asked Wikileaks if more DNC leaks were on their way. The
    reply: “We have more coming.”

https://www.wired.com/2016/07/heres-know-russia-dnc-hack/                                                    3/7
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                                                 Here’s What We Know About Russia and the DNC Hack | WIRED
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    Update: In a press conference Wednesday, Republican presidential candidate Donald
    Trump invited Russia to retrieve “missing” emails from Hillary Clinton’s campaign
    and release them. Cybersecurity experts described the remarks as “unprecedented”
    and “possibly illegal.”




https://www.wired.com/2016/07/heres-know-russia-dnc-hack/                                                    4/7
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https://www.wired.com/2016/07/heres-know-russia-dnc-hack/                                                    7/7
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                 ELECTION 2016            Full Results       Exit Polls     Trump's Cabinet




             Private Security Group Says Russia
             Was Behind John Podesta’s Email
             Hack
             By NICOLE PERLROTH and MICHAEL D. SHEAR OCT. 20, 2016
             SAN FRANCISCO — At the start of 2014, President Obama assigned his trusted
             counselor, John D. Podesta, to lead a review of the digital revolution, its potential
             and its perils. When Mr. Podesta presented his findings five months later, he called
             the internet’s onslaught of big data “a historic driver of progress.” But two short
             years later, as chairman of Hillary Clinton’s presidential campaign, Mr. Podesta
             would also become one of the internet’s most notable victims.

                   On Thursday, private security researchers said they had concluded that Mr.
             Podesta was hacked by Russia’s foreign intelligence service, the GRU, after it tricked
             him into clicking on a fake Google login page last March, inadvertently handing over
             his digital credentials.

                   For months, the hackers mined Mr. Podesta’s inbox for his most sensitive and
             potentially embarrassing correspondence, much of which has been posted on the
             WikiLeaks website. Additions to the collection on Thursday included three short




http://www.nytimes.com/2016/10/21/us/private-security-group-says-russia-was-behind-john-podestas-email-hack.html             1/4
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             email exchanges between Mr. Podesta and Mr. Obama himself in the days leading up
             to his election in 2008.

                   Mr. Podesta’s emails were first published by WikiLeaks earlier this month. The
             release came just days after James R. Clapper Jr., the director of national
             intelligence, and the Department of Homeland Security publicly blamed Russian
             officials for cyberattacks on the Democratic National Committee, in what they
             described as an effort to influence the American presidential election.

                   To date, no government officials have offered evidence that the same Russian
             hackers behind the D.N.C. cyberattacks were also behind the hack of Mr. Podesta’s
             emails, but an investigation by the private security researchers determined that they
             were the same.

                   Threat researchers at Dell SecureWorks, an Atlanta-based security firm, had
             been tracking the Russian intelligence group for more than a year. In June, they
             reported that they had uncovered a critical tool in the Russian spy campaign.
             SecureWorks researchers found that the Russian hackers were using a popular link
             shortening service, called Bitly, to shorten malicious links they used to send targets
             fake Google login pages to bait them into submitting their email credentials.

                   The hackers made a critical error by leaving some of their Bitly accounts public,
             making it possible for SecureWorks to trace 9,000 of their links to nearly 4,000
             Gmail accounts targeted between October 2015 and May 2016 with fake Google login
             pages and security alerts designed to trick users into turning over their passwords.

                   Among the list of targets were more than 100 email addresses associated with
             Hillary Clinton’s presidential campaign, including Mr. Podesta’s. By June, 20 staff
             members for the campaign had clicked on the short links sent by Russian spies. In
             June, SecureWorks disclosed that among those whose email accounts had been
             targeted were staff members who advised Mrs. Clinton on policy and managed her
             travel, communications and campaign finances.

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                   Two security researchers who have been tracking the GRU’s spearphishing
             campaign confirmed Thursday that Mr. Podesta was among those who had
             inadvertently turned over his Google email password. The fact that Mr. Podesta was
             among those breached by the GRU was first disclosed Thursday by Esquire and the
             Motherboard blog, which published the link Russian spies used against Mr. Podesta.

                   “The new public data confirming the Russians are behind the hack of John
             Podesta’s email is a big deal,” Jake Sullivan, Mrs. Clinton’s senior policy adviser, said
             Thursday. “There is no longer any doubt that Putin is trying to help Donald Trump
             by weaponizing WikiLeaks.”

                   The new release of Mr. Podesta’s email exchange with Mr. Obama from 2008
             made clear that Mr. Obama’s team was confident he would win.

                   In one of the emails, Mr. Podesta wrote Mr. Obama a lengthy memo in the
             evening on Election Day recommending that he not accept an invitation from
             President George W. Bush to attend an emergency meeting of the Group of 20
             leaders.

                   “Attendance alongside President Bush will create an extremely awkward
             situation,” the memo said. “If you attempt to dissociate yourself from his positions,
             you will be subject to criticism for projecting a divided United States to the rest of
             the world. But if you adopt a more reserved posture, you will be associated not only
             with his policies, but also with his very tenuous global standing.”

                   The White House did not respond to questions about the email.

             Correction: October 22, 2016
             An article on Friday about suspected email hacking by Russia’s foreign intelligence
             service misstated the name of one organization that first disclosed that a presidential
             counselor, John D. Podesta, was among those whose accounts were breached. The blog
             is Motherboard, not VICE Motherload.
             Nicole Perlroth reported from San Francisco, and Michael D. Shear from Washington.

             Follow The New York Times’s politics and Washington coverage on Facebook and
             Twitter, and sign up for the First Draft politics newsletter.




http://www.nytimes.com/2016/10/21/us/private-security-group-says-russia-was-behind-john-podestas-email-hack.html             3/4
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             A version of this article appears in print on October 21, 2016, on page A14 of the New York edition with
             the headline: Private Security Group Says Russia Was Behind Hack of Clinton Campaign Chairman.




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http://www.nytimes.com/2016/10/21/us/private-security-group-says-russia-was-behind-john-podestas-email-hack.html             4/4
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                                                         Russians Hacked Two U.S. Voter Databases, Officials Say - NBC News
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                                          NEWS AUG 30 2016, 4:54 AM ET

                                          Russians Hacked Two U.S. Voter
                                          Databases, Oﬃcials Say
                                          by ROBERT WINDREM, WILLIAM M. ARKIN and KEN DILANIAN




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                                          Hackers based in Russia were behind two recent attempts to breach state voter
                                          registration databases, fueling concerns the Russian government may be trying
                                          to interfere in the U.S. presidential election, U.S. intelligence oﬃcials tell NBC
                                          News.

                                          The breaches included the theft of data from as many as 200,000 voter records
                                          in Illinois, oﬃcials say.

                                          The incidents led the FBI to send a "flash alert" earlier this month to election
                                          oﬃcials nationwide, asking them to be on the lookout for any similar cyber
                                          intrusions.

                                          One oﬃcial tells NBC News that the attacks have been attributed to Russian
                                          intelligence agencies.

                                          "This is the closest we've come to tying a recent hack to the Russian
                                          government," the oﬃcial said.

                                          That person added that "there is serious concern" that the Kremlin may be
                                          seeking to sow uncertainty in the U.S. presidential election process.




                                          Voters cast their ballots at ChiArts High School on March 15 in Chicago, Illinois.  Scott Olson / Getty
                                          Images


                                          Two other oﬃcials said that U.S. intelligence agencies have not yet concluded
                                          that the Russian government is trying to do that, but they are worried about it.




http://www.nbcnews.com/news/us-news/russians-hacked-two-u-s-voter-databases-say-officials-n639551                                                    1/4
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                                                 Russians Hacked Two U.S. Voter Databases, Officials Say - NBC News
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                                    They said the Russians have long conducted cyber espionage on political
                                    targets. The question now is whether they are moving into a covert intelligence
                                    operation designed to destabilize the U.S. political process.

                                    The alert, first reported by Yahoo News, provided IP addresses associated with
                                    the hack attempts, though it did not mention Russia.

                                    One of the IP addresses was involved in both breaches, the FBI alert said.

                                    "The FBI is requesting that states contact their Board of Elections and
                                    determine if any similar activity to their logs, both inbound and outbound, has
                                    been detected," the alert said.

                                    The bulletin does not identify the targeted states, but oﬃcials told NBC News
                                    they were Illinois and Arizona. Illinois oﬃcials said in July that they shut down
                                    their state's voter registration after a hack. State oﬃcials said Monday the
                                    hackers downloaded information on as many 200,000 people.

                                    State oﬃcials told the Chicago Tribune they were confident no voter record had
                                    been deleted or altered.

                                    In Arizona, oﬃcials said, hackers tried to get in using malicious software but
                                    were unsuccessful. The state took its online voter registration down for nine
                                    days, beginning in late June, after malware was discovered on a county election
                                    oﬃcial's computer. But the state concluded that the system was not successfully
                                    breached.

                                    Those incidents led Homeland Security Secretary Jeh Johnson to host a call
                                    earlier this month with state election oﬃcials to talk about cybersecurity and
                                    election infrastructure.

                                    Johnson said DHS isn't aware of any specific cyber threat against election-
                                    related networks, but he urged oﬃcials to examine how to better secure their
                                    systems, according to a summary of the call put out by the department.

                                    U.S. intelligence oﬃcials have previously said Russian intelligence agencies
                                    were behind hacks into the Democratic National Committee and related
                                    organizations. There has been a long running debate among intelligence
                                    analysts about what Russia is up to.

                                    Voting systems have not been considered "critical infrastructure," by the
                                    Department of Homeland Security, so they are not subject to federal
                                    government protections.

                                    Independent assessments have found that many state and local voting system
                                    are extremely vulnerable to hacking.



                                    ■
                                          ROBERT WINDREM      


                                    WILLIAM M. ARKIN    


                                          KEN DILANIAN    

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                                    FIRST PUBLISHED AUG 29 2016, 6:05 PM ET


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                                                  U.S. official: Hackers targeted voter registration systems of 20 states - Chicago Tribune
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U.S. official: Hackers targeted voter registration
systems of 20 states




In this June 5, 2015, file photo, the Homeland Security Department headquarters in northwest Washington. A Homeland Security
Department official says hackers have targeted the voter registration systems of more than 20 states in recent months. FBI Director James
Comey told lawmakers this week that the agency is looking "very, very hard" at Russia
                                                                               Russian hackers who may try to disrupt the U.S. election.
(Susan Walsh / AP)


By Tribune news services

SEPTEMBER 30, 2016, 4:42 PM               |   WASHINGTON




H            ackers have targeted the voter registration systems of more than 20 states in recent months, a
             Homeland Security Department official said Friday.

The disclosure comes amid heightened concerns that foreign hackers might undermine voter confidence in the
integrity of U.S. elections. Federal officials and many cybersecurity experts have said it would be nearly
impossible for hackers to alter an election's outcome because election systems are very decentralized and
generally not connected to the internet.

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http://www.chicagotribune.com/news/nationworld/ct-hackers-target-election-systems-20160930-story.html                                         1/3
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                                        U.S. official: Hackers targeted voter registration systems of 20 states - Chicago Tribune
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The official who described detecting the hacker activity was not authorized to speak publicly on the subject and
spoke to The Associated Press on condition of anonymity. It was unclear, the official said, whether the hackers
were foreign or domestic, or what their motives might be. ABC News earlier reported that more than 20 states
were targeted.

The FBI last month warned state officials of the need to improve their election security after hackers targeted
systems in Illinois and Arizona. FBI Director James Comey told lawmakers this week that the agency is looking
"very, very hard" at Russian hackers who may try to disrupt the U.S. election.

Last month, Donald Trump, the GOP nominee for president, suggested that he feared the general election "is
going to be rigged."

The Homeland Security Department has stepped up its outreach to states and localities, but it is up to them to
ask for help. So far, 19 states have expressed interest in a general "cyber hygiene" scan of key websites — akin to
ensuring that windows in a home are properly closed, according to another Homeland Security official directly
involved in securing local elections who also was not authorized to speak publicly about ongoing efforts.

The FBI has detected a variety of "scanning activities" that are early indications of hacking, Comey told the
House Judiciary Committee this week.

The FBI held a conference call on Friday with the local officials who run elections in the battleground state of
Florida. Meredith Beatrice, a spokeswoman for Secretary of State Ken Detzner, called it an "informational call
related to elections security," but a person on the call who was not authorized to discuss it and requested
anonymity said authorities had seen evidence of someone probing a local elections website.

Homeland Security Secretary Jeh Johnson spoke to state election officials by phone last month, encouraging
them to implement existing technical recommendations to secure their election systems and ensure that
electronic voting machines are not connected to the internet.

DHS is offering states more comprehensive, on-site risk and vulnerability checks. Only four states have
expressed interest in the assessment, and because the election is only weeks away, the department will likely
only be able to conduct an assessment of one state before Election Day on Nov. 8, the official said.

Two of the hacking attempts involved efforts to mine data from the Arizona and Illinois voter registration
systems, according to Kay Stimson, a spokeswoman for the National Association of Secretaries of State. She
said in Arizona a hacker tried to probe voter registration data, but never infiltrated the system, while in Illinois
hackers got into the system, but didn't manipulate any data.

http://www.chicagotribune.com/news/nationworld/ct-hackers-target-election-systems-20160930-story.html                               2/3
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11/24/2016                             U.S. official: Hackers targeted voter registration systems of 20 states - Chicago TribXne
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These systems have "nothing to do with vote casting or counting," Stimson said in an email. "While it is
theoretically possible to disrupt an election by infiltrating a voter registration system, their compromise would
not affect election results" and there are system controls in place to catch any fraud.

Rep. Henry Johnson, D-Ga., introduced two bills earlier this month that would require voting systems be
designated as critical infrastructure and limit purchases of new voting systems that don't provide paper ballots,
among other measures. It's unlikely the bills will be passed before the election.

The Homeland Security Department is already considering designating voting systems as critical infrastructure
in the future, though it is unlikely to happen before the election, the second official said.

A presidential directive released in 2013 details 16 sectors that are considered critical infrastructure, including
energy, financial services, healthcare, transportation, food and agriculture, and communications. The
designation places responsibilities on the Homeland Security secretary to identify and prioritize those sectors,
considering physical and cyber threats. The secretary is also required to conduct security checks and provide
information about emerging and imminent threats.

Associated Press

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Senators call for declassification of files on
Russia's role in US election
Eight members of Senate intelligence committee hint that government may still hold secret
information ‘concerning the Russian government’




The eight senators did not directly accuse the Russian government or Donald Trump of wrongdoing. Photograph: Timothy A
Clary/AFP/Getty Images

Spencer Ackerman in New York
Thursday 1 December 2016 11.07±EST

All of the Democratic and Democratic-aligned members of the Senate intelligence
committee have hinted that significant information about Russian interference in the US
presidential election remains secret and ought to be declassified.

The eight senators, including the incoming ranking member Mark Warner of Virginia,
wrote to Barack Obama to request he declassify relevant intelligence on the election.
They did not directly accuse the Russian government or President-elect Donald Trump, a
Republican, of wrongdoing in the letter.




https://www.theguardian.com/us-news/2016/nov/30/senators-hint-russian-interference-us-p... 12/5/2016
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“We believe there is additional information concerning the Russian government and the
US election that should be declassified and released to the public. We are conveying
specifics through classified channels,” wrote Warner and his colleagues Ron Wyden of
Oregon, Martin Heinrich of New Mexico, Mazie Hirono of Hawaii, Barbara Mikulski of
Maryland and independent Angus King of Maine.

Jack Reed of Rhode Island, an honorary and non-voting member of the committee due
to his seat as ranking member of the Senate armed services committee, also signed the
letter, which was dated Tuesday and publicly released on Wednesday. No Republican
joined the declassification call.

The outgoing ranking Democrat, Dianne Feinstein of California, signed the classified
version of the letter sent to Obama.

Neither the terse letter nor discussions with sources on Capitol Hill detailed the
particular intelligence concerning the Russians, its strength or its impact on the outcome
of the election. Thus far, no credible evidence of vote fraud or electoral malfeasance
exists, despite an evidence-free claim from Trump himself.

A spokesman for Wyden, Keith Chu, said the senator believed the intelligence needed to
be declassified “immediately”, as it was in the “national interest that the American
public should see it”.

It is understood this is the first declassification request by eight senators in at least
twelve years.

On 7 October, the US director of national intelligence and the secretary of homeland
security took the rare step of directly accusing Russia’s “senior-most” officials of
ordering the breach of the Democratic National Committee’s digital networks. Director
James Clapper and Secretary Jeh Johnson accused the Russians of attempting to
“interfere” in the US election, something the Obama administration had previously
suggested but did not allege publicly.

The FBI has acknowledged investigating such interference, but has reportedly not
established any link to Trump or his campaign. Two US officials have told the Guardian
that the FBI was reluctant to sign off on Clapper and Johnson’s public allegation.

Yet Harry Reid, the outgoing Democratic Senate leader, asserted without evidence in
October that the FBI director, James Comey, “possess[es] explosive information about
close ties and coordination between Donald Trump, his top advisers, and the Russian
government”.

Unusually for any presidential nominee, and particularly for a Republican, Trump has
exhibited a warmth toward the Russian president, Vladimir Putin, that has prompted a
widespread expectation Trump will tilt US foreign policy toward Russia. Trump and
Putin spoke soon after Trump’s electoral victory in a phone call heralded by the Kremlin.




https://www.theguardian.com/us-news/2016/nov/30/senators-hint-russian-interference-us-p... 12/5/2016
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There was no immediate comment from the White House or Clapper’s office as to
whether Obama would order the declassification or whether the intelligence agencies
even support such a move.

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                             Joint Statement from
                             the Department Of
                             Homeland Security and
                             Office of the Director of
                             National Intelligence on
                             Election Security
                             Release Date: October 7, 2016




                             For Immediate Release
                             DHS Press Office
                             Contact: 202-282-8010

                             The U.S. Intelligence Community (USIC) is confident that the
                             Russian Government directed the recent compromises of e-
                             mails from US persons and institutions, including from US
                             political organizations. The recent disclosures of alleged
                             hacked e-mails on sites like DCLeaks.com and WikiLeaks
                             and by the Guccifer 2.0 online persona are consistent with
                             the methods and motivations of Russian-directed efforts.

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                             These thefts and disclosures are intended to interfere with the
                             US election process. Such activity is not new to Moscow—the
                             Russians have used similar tactics and techniques across
                             Europe and Eurasia, for example, to influence public opinion
                             there. We believe, based on the scope and sensitivity of
                             these efforts, that only Russia's senior-most officials could
                             have authorized these activities.

                             Some states have also recently seen scanning and probing of
                             their election-related systems, which in most cases originated
                             from servers operated by a Russian company. However, we
                             are not now in a position to attribute this activity to the
                             Russian Government. The USIC and the Department of
                             Homeland Security (DHS) assess that it would be extremely
                             difficult for someone, including a nation-state actor, to alter
                             actual ballot counts or election results by cyber attack or
                             intrusion. This assessment is based on the decentralized
                             nature of our election system in this country and the number
                             of protections state and local election officials have in place.
                             States ensure that voting machines are not connected to the
                             Internet, and there are numerous checks and balances as
                             well as extensive oversight at multiple levels built into our
                             election process.

                             Nevertheless, DHS continues to urge state and local election
                             officials to be vigilant and seek cybersecurity assistance from
                             DHS. A number of states have already done so. DHS is
                             providing several services to state and local election officials
                             to assist in their cybersecurity. These services include cyber
                             “hygiene” scans of Internet-facing systems, risk and
                             vulnerability assessments, information sharing about cyber
                             incidents, and best practices for securing voter registration
                             databases and addressing potential cyber threats. DHS has
                             convened an Election Infrastructure Cybersecurity Working
                             Group with experts across all levels of government to raise
                             awareness of cybersecurity risks potentially affecting election
                             infrastructure and the elections process. Secretary Johnson
                             and DHS officials are working directly with the National
                             Association of Secretaries of State to offer assistance, share

https://www.dhs.gov/news/2016/10/07/joint-statement-department-homeland-security-and-office-director-national                                    2/3
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                             information, and provide additional resources to state and
                             local officials.

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